                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   CASE NO. 1:21-MC-6-WO-LPA

In re Application of KARAM         )
SALAH AL DIN AWNI AL               )
SADEQ and STOKOE                   )
                                             REPLY IN SUPPORT OF
PARTNERSHIP SOLICITORS             )
                                           MOTION TO RECONSIDER OR
for an Order Under § 1782 to       )
                                                   MODIFY
Conduct Discovery for Use in       )
Foreign Proceedings.               )

      This Reply Memorandum is submitted in support of Respondents Vital

Management Services, Inc. (“VMS”) and Nicholas Del Rosso’s (“Del Rosso”)

(together, “Respondents”) Motion to Reconsider or Modify (D.E. 25) (the

“Motion”) and in response to Karam Al Din Awni Al Sadeq (“Al Sadeq”) and

Stokoe Partnership Solicitors’ (“Stokoe”) (together, “Applicants”) opposition to

that Motion (D.E. 33) (the “Response”).

                              INTRODUCTION

      In their Motion, Respondents sought relief from the Court based on two

recent developments.

      First, Respondents recently obtained payment records in discovery

linking Applicants’ co-conspirator, Farhad Azima, to the unlawful acquisition

of CyberRoot Risk Advisory Private Ltd.’s (“CyberRoot”) bank statements used

by Applicants to seek approval of the 28 U.S.C. § 1782 Application. Whereas

Applicants represented that they had obtained CyberRoot’s bank statements

from a “whistleblower who is employed by CyberRoot and who has legitimate

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access to the company’s bank account[,]” (D.E. 4, ¶ 32), the bank records were

obtained through bribes paid by Azima’s agents to employees of the bank in

return for the bank statements cited by Applicants. In reaching its ruling, the

Magistrate Judge relied upon Applicants’ false and prejudicial insinuation that

a CyberRoot employee blew the whistle and that Applicants lawfully obtained

CyberRoot’s bank records.

      Second, while the Application purports to seek evidence for use in a

foreign proceeding, the High Court in the U.K. has recently ruled that evidence

related to Dechert LLP’s (“Dechert”) investigatory work on behalf of Ras Al

Khaimah (“RAK”) is privileged.     A reassessment of the scope of the foreign

discovery, which was unavailable to the Magistrate Judge, would better protect

important privileges, and Respondents’ due process rights to be free from

oppressive and undue discovery.

      While Applicants’ Response attempts to minimize the importance of

these developments, missing from their arguments is:

       any denial that Tsiattalou falsely reported to this Court how he came

         into possession of CyberRoot’s bank statements;

       any response to the evidence (which the Standard Chartered Bank

         records substantiate) that Applicants brought this proceeding as part

         of their concerted efforts with the Eurasian Natural Resources

         Corporation (“ENRC”), Farhad Azima, and others to falsely implicate

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         Respondents in order to acquire information about Respondents’ work

         for Dechert and its client, RAK; and,

       any indication that Applicants have leave of the English court in the

         Al Sadeq v. Dechert LLP, et al., Claim No. QB-2020-000322

         (“Underlying Lawsuit”) to pursue discovery into matters which that

         court found to be privileged—i.e., Dechert’s investigatory work (to

         which Respondents       contributed)    in   furtherance   of   Dechert’s

         representation of RAK and its related entities, including the RAK

         Investment Authority (“RAKIA”).

      Instead, Applicants focus their arguments on whether the Court should

even consider this evidence, arguing that this is not new evidence, and that it

is neither relevant nor material to the Court’s consideration of the Application.

Respondents address these arguments below.

                                 ARGUMENT

I.    RESPONDENTS’ EVIDENCE MEETS THE STANDARDS FOR
      RECONSIDERATION

      As Applicants acknowledge in their Response, a Rule 59(e) motion for

reconsideration may be granted to, amongst other things, account for new

evidence or prevent manifest injustice. (See D.E. 33, at p.5 (citing Donalds v.

Ethicon, Inc., 2023 WL 2446703, at *5 (4th Cir. Mar. 10, 2023))). The evidence

that the CyberRoot bank statements were acquired via a bribe to Kotak


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Mahinda Bank employees—not from a CyberRoot employee “whistleblower” as

represented to the Magistrate Judge ruling on the Application—meets these

standards. Because such evidence shows that the Application was introduced

under false pretenses and made in bad faith to create a lawful pretext for

Azima’s immediate re-use of the stolen records in other cases, the Motion for

Reconsideration should be granted. See Euromepa S.A. v. R. Esmerian, Inc.,

51 F.3d 1095, 1101 n.6 (2d Cir. 1995) (“Of course, if the district court

determines that a party's discovery application under section 1782 is made in

bad faith, . . . the court is free to deny the application in toto, just as it can if

discovery was sought in bad faith in domestic litigation.”).

    A.      The Standard Chartered Bank Records Are Newly Discovered

         Applicants ignore the core of Respondents’ argument for reconsideration:

bank records only recently obtained during discovery in Azima v. Del Rosso, et

al., No. 20-cv-954-WO-JLW (M.D.N.C.) (the “Azima Lawsuit”) from Standard

Chartered Bank1 link Azima and his agents to the theft of the CyberRoot bank

statements—the        same     CyberRoot      banks     statements      that    Applicants

misrepresented to this Court were innocently obtained, and which Applicants


1 Indeed, Applicants have continued to meet and confer with Standard Chartered Bank in a
good faith effort to confirm the scope of Standard Chartered Banks’ production of responsive
information and to obtain its permission to use and disclose documents marked as
“Confidential” by Standard Chartered Bank under the protective order in the Azima Lawsuit.
Standard Chartered has requested that Applicants issue a modified subpoena, and
anticipates that Applicants will be able to supplement the records with relevant bank records
under seal in this matter with Standard Chartered Bank’s permission.
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relied on in support of their Application. These improperly acquired CyberRoot

bank records formed the very basis for Applicants’ claims that Respondents

were involved in any hacking.

      Standard    Chartered     Bank   produced   the   records   at   issue   as

“Confidential” under the protective order in the Azima Lawsuit on February

24, 2023—roughly 14 months after Respondents filed their motion to quash in

this proceeding, and roughly 10 months after the Magistrate Judge’s order and

opinion denying that motion. Respondents promptly met and conferred with

Standard Chartered Bank concerning the scope of its production and sought

permission to disclose the records marked as “Confidential” by Standard

Chartered Bank. The Azima Lawsuit is currently the only proceeding (of the

several that involve or are predicated on the purported hacking of Farhad

Azima) where discovery is currently available to Respondents.

      Further, Applicants spend the majority of their Response pointing out

that the other evidence submitted with Respondents’ Motion—e.g., the

CyberRoot Complaint, the declarations of Vikash Pandey, etc.—is not new

evidence, and therefore should not be considered. But Applicants are not

relying solely on that additional evidence in support of this Motion; rather, it

is the Standard Chartered Bank records that link Azima, his agents, and

Applicants with the theft of the CyberRoot bank statements from Kotak



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Mahindra Bank.2 The other evidence provides important context to what the

Standard Chartered bank records substantiate—that the stolen CyberRoot

bank statements from Kotak Mahindra Bank were used to create the false

story upon which Applicants rely in support of their Application for discovery.

       Indeed, while Respondents were suspicious of the timing of Applicants’

initial publication of the CyberRoot bank records from Kotak Mahindra Bank

in this proceeding in February 2021 (see, e.g., D.E. 28, pp.20–21 (summarizing

the timing and apparent coordination regarding the CyberRoot bank records

between Applicants and Azima), the newly-produced Standard Chartered

Bank reveal payments by Azima’s agents that line up with the theft of the bank

records (among other misconduct, such as attempted witness bribery), which

predate the false cover-story that Jonas Rey offered about starting his

investigation into BellTroX on July 6, 2020.

       Accordingly, contrary to Applicants’ assertion, Respondent’s Motion is

predicated on new evidence in the form of the information from Standard

Chartered Bank.




2Moreover, Respondents believe that Applicants used this proceeding to effectively “launder”
the stolen CyberRoot bank records through the Tsiattalou declaration so that Azima could
then rely on those records in support of his appeal of his hacking claims in the United
Kingdom with a pretextual lawful explanation for why he had CyberRoot’s bank records.
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   B. The Standard Chartered Bank Records Warrant This Court’s
      Reconsideration And Are Material To This Court’s Decision

      As set out in Respondents’ opening brief, the Standard Chartered Bank

records substantiate that CyberRoot’s bank records were obtained unlawfully

in furtherance of Azima and his agents’ efforts to create the false story that

Respondents hired CyberRoot to hack Azima.            More importantly, these

Standard Chartered Bank records confirm that Tsiattalou’s representations to

this Court about how he came into possession of these CyberRoot bank records

were, at best, wholly inaccurate. Thus, it is extremely material to this Court

that the bank records forming the basis for this Application were submitted

under false pretenses, because it not only implicates the veracity of Tsiattalou’s

declaration but also because the Magistrate Judge’s order and opinion largely

recited and adopted its contents. Had the Magistrate Judge been aware of this

conduct in weighing the evidence in support of and in opposition to the

Application, the scales—in Respondents’ view—would have tipped in favor of

declining or limiting the discovery sought. Indeed, Respondents do not believe

the Magistrate Judge intended to set precedent that 28 U.S.C. § 1782

applicants could obtain discovery based on bank statements which were

unlawfully obtained via a bribe in a foreign country.

      In their Response, Applicants do not attempt to provide an explanation

for how Tsiattalou lawfully came into possession of CyberRoot’s bank


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statements from Kotak Mahindra Bank and, instead, quibble about what it

means to be a “whistleblower” to argue that Tsiattalou did not knowingly

provide false information. (D.E. 33 p.17; see also id. at pp.13–14). Applicants’

failure to contest the theft of the records is telling in its own right. Applicants’

argument fails for at least two reasons.

      First, Tsiattalou did not simply characterize his source of the stolen bank

records as a “whistleblower”. Rather, he specifically represented that “[a]

whistleblower who is employed by CyberRoot and who has legitimate

access to the company’s bank account has provided copies of what the

Applicants believe are CyberRoot’s bank account statements with

Kotak Mahindra Bank.” (D.E. 4, ¶ 32 (emphasis added)). As the evidence set

forth in Respondents’ motion demonstrates, the CyberRoot bank statements

did not come from an employee of CyberRoot—current or former—and,

therefore, Applicants cannot use semantics to pivot from the falsity of

Tsiattalou’s sworn representation to this Court.

      Second, claiming to have obtained the stolen bank statements from a

“whistleblower” within CyberRoot was clearly a deliberate attempt to buttress

the credibility of Tsiattalou’s possession of the records. Moreover, using the

term “whistleblower” suggests that the source was revealing wrongdoing




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within CyberRoot,3 which Applicants argued in their initial filings to this

Court, and which Azima has also argued in his litigation in this Court and

elsewhere.

       The fact that the CyberRoot bank records were stolen from CyberRoot’s

bank in India via a bribe undermines all of Applicants’ representations on this

point, and should be considered by this Court.

       Applicants’ entire basis for their Application is that Respondents are

alleged to have hacked Azima, and therefore Respondents must have

information that will help “determin[e] the identity of those behind the hacking

campaign targeting Mr. Al Sadeq’s Legal and Support Team” in 2020. (D.E. 2,

at p.18). In other words, Applicants theory is “you hacked him, so you must

have hacked me.” In coming to its decision, the Magistrate Judge largely

adopted Applicants’ version of the facts, including that Applicants seek

discovery “related to [Respondents’] work with CyberRoot”, whose relevance

relies on stolen bank records. Thus, the evidence set forth by Respondents in

the Motion refutes the very basis for the Application, which can hardly be

considered irrelevant to this Court’s consideration.




3 Merriam-Webster defines a “whistleblower” “one who reveals something covert or who
informs against another” such as where “an employee brings wrongdoing . . . to the attention
of a government or law enforcement agency.”            Whistleblower, Merriam-Webster,
https://www.merriam-webster.com/dictionary/whistleblower (last visited June 12, 2023).
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      Lastly, Applicants simply state that this is merely impeachment

evidence of Applicants and argue that those issues should be resolved in

foreign litigation. (D.E. 33 pp.12–13). Respondents, however, are not parties

to the Underlying Lawsuit. While Respondents are litigating these same

overlapping issues in the several other cases relating to the purported hacking

of Azima, Respondents have no other avenue in a § 1782 proceeding other than

to set forth the evidence demonstrating the false basis for the Application.

      In sum, the Court’s decision to grant the Application was based on the

representations that the CyberRoot bank statements were acquired by a

“whistleblower who is employed by CyberRoot and who has legitimate access

to the company’s bank account[.]” The new evidence from Standard Chartered

Bank, when viewed along with the other information cited in Respondents’

Motion, shows that those representations were false. The Court’s grant of the

Application based both on those false representations and the stolen bank

records is akin to a defendant’s conviction based on the fruit of the poisonous

tree. Reconsideration is appropriate and necessary here to evaluate whether

Applicants are still entitled to the discovery they seek in light of how

CyberRoot’s bank records were actually obtained.

   C. Reconsideration Is Also Proper To Prevent Manifest Injustice

      Applicants ask the Court not to reconsider the veracity of their

declarations in the light of new evidence. That is flatly contrary to cases

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construing § 1782, which allows courts to consider whether the application is

made in bad faith. See Euromepa, supra. Congress did not intend the wide

discretion available to a court in a § 1782 to be exploited by an applicant’s

mischaracterizations and half-truths.       Here, the Court has considerable

discretion in the extent to which a § 1782 application is granted and the

discovery permitted thereunder. In re Merck & Co., Inc., 197 F.R.D. 267, 270

(M.D.N.C. 2000) (“Case law supports the view that not only does the Court

have wide discretion to determine whether to grant discovery, but it possesses

equally wide discretion to tailor such discovery to avoid attended problems.”).

      In light of the false statements in Tsiattalou’s declaration, in addition to

the evidence of the concerted efforts by Applicants, Azima, and the ENRC to

frame Respondents in order to seek information on Neil Gerrard and Dechert

(see D.E. 28, pp.6–14), it would be manifestly unjust for this Court to allow

Applicants to exploit this § 1782 process. Respondents ask that this Court use

its inherent power to alter or amend its decision affirming the Magistrate

Judge’s order and opinion. In the alternative, Respondents request that the

Court use its discretion to remand Respondents’ motion to quash to the

Magistrate Judge, where he may reconsider the motion in light of the

additional evidence and arguments set forth in this Motion.




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II.    THE ENGLISH COURT’S DECISION IN THE UNDERLYING
       LAWSUIT ON PRIVILEGE IS SIGNIFICANT AND WARRANTS
       RECONSIDERATION.

       Applicants miss the point in arguing that the recent decision of the U.K.

High Court regarding privilege does not merit reconsideration because it is not

“controlling law.” Applicants cannot seriously argue that they have a right to

seek evidence for use in a foreign proceeding when the foreign court has

rejected arguments that such evidence is discoverable. See Intel v. Advanced

Micro Device, 542 U.S. 241, 265 (2004) (holding that a court may consider

whether a § 1782 Application seeks to circumvent foreign proof-gathering

restrictions or other policies of a foreign country).

       Moreover, the ruling from the U.K. High Court bears directly on the use

of discovery implicated by the present Application—specifically, Respondents’

contracted work (i.e., consulting and fraud examination work) on behalf of

Dechert in furtherance of Dechert’s legal representation of RAK and its related

entities. Respondents acknowledge the lack of case law in this specific context;

however, as the Court is aware, there is little developed 28 U.S.C. § 1782 case

law, and it would certainly be manifestly unjust if Applicants were permitted

to circumvent an order from the U.K. court in the Underlying Lawsuit and seek

discovery into matters which constitute Dechert’s privileged investigatory

work simply because the § 1782 application was pending when the U.K. court

ruled that the evidence would not be discoverable. Moreover, there is no

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indication that Applicants have sought or received input or permission from

the U.K. court to seek this discovery through this Application. Thus, this Court

should use its discretion to amend its prior orders and preclude discovery into

Respondents’ privileged work for Dechert in furtherance of Dechert’s legal

representation of RAK and its related entities.

      Also, there are various motions pending before Judge Webster in this

Court on this same discoverability issue—i.e., the applicability of privilege to

Respondents’ work for Dechert in furtherance of Dechert’s legal representation

of RAK and its related entities. See, e.g., Azima Lawsuit, D.E. 142 (requesting

protective   order   to   prevent   deposition   questions   probing   privileged

information). At the very least, to avoid inconsistent rulings, this Court should

foreclose discovery of this information/testimony from Respondents until

Judge Webster rules on this issue.

                                CONCLUSION

      For the foregoing reasons, Respondents request that this Court grant

their Motion to Reconsider or Modify, reconsider its Order affirming Judge

Auld’s Orders, overrule Judge Auld’s Orders, and either deny the Application

or grant Respondent’s Motion to Quash in whole or part as laid out in the

Motion to Quash.




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     Alternatively, Respondents request that this Court remand the issue to

Judge Auld to reconsider the Motion to Quash in light of the additional

evidence submitted in support of this Motion.



     This the 16th day of June, 2023.

                                          NELSON MULLINS RILEY &
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                        CERTIFICATE OF SERVICE

      I hereby certify that on this 16th day of June, 2023, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which will send electronic notification of filing to the following:

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                         WORD COUNT CERTIFICATION

          Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.

P. 11, that the foregoing document contains 2,791 words, according to the word

count feature of the word processing system used to prepare the brief.

Accordingly, the brief does not exceed the word limitation.


          Respectfully submitted, this the 16th day of June, 2023.

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